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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   EARNEST C. WOODS, II,                               Case No.: 21-cv-01391-JLS-DEB
12                                     Petitioner,
                                                         ORDER DENYING MOTION FOR
13   v.                                                  JUDICIAL NOTICE
14   RON BROOMFIELD, Warden,
15                                   Respondent.
                                                         [ECF No. 9]
16
17          Presently before the Court is a Motion for Judicial Notice filed by Petitioner Earnest
18   C. Woods, II. (ECF No. 9.) In his motion, Petitioner requests that the Court grant him
19   “leave to file . . . records of Senate Bill 775,” and presumably, take judicial notice of them.
20   (Id. at 1.)
21          Petitioner’s Motion for Judicial Notice is hereby DENIED. As set forth by the Court
22   in its October 27, 2021 Order dismissing the underlying Petition for Writ of Habeas
23   Corpus, to the extent Petitioner wishes to challenge the length or duration of his
24   confinement based on a challenge to his parole board determination, he may file a 28
25   U.S.C. § 2254 Petition in the Northern District of California. (ECF No. 7 at 6.) To the
26   extent Petitioner wishes to pursue claims concerning the conditions of his confinement at
27   San Quentin, he must file a new civil rights action pursuant to 42 U.S.C. § 1983 in the
28   Northern District of California. (Id. at 6–7.) To the extent Petitioner is attempting to raise

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 1   claims challenging his 1987 conviction and sentence in San Diego Superior Court Case
 2   No. CR 83908, Petitioner must first seek leave to file a successive petition from the Ninth
 3   Circuit Court of Appeals. (Id. at 7.) The Court will not entertain any further filings from
 4   Petitioner absent an indication that the Ninth Circuit has granted Petitioner leave to file a
 5   successive petition.
 6         IT IS SO ORDERED.
 7   Dated: November 3, 2021
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